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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                   Case No.: 3:14cr98/MCR

ANTHONY FISHER, JR.
_____________________________________________________________________

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed. R. Crim. P., and
has entered a plea of guilty to Counts I and II of the Superseding Indictment. After cautioning and
examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I
determined that the guilty plea was knowing and voluntary, and that each offense charged is supported
by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted and that the Defendant be adjudicated guilty and have
sentence imposed accordingly.



Dated: January 9, 2015                         /s/ Elizabeth M. Timothy
                                               ELIZABETH M. TIMOTHY
                                               CHIEF UNITED STATES MAGISTRATE JUDGE

                                             NOTICE

       Any objections to these proposed findings and recommendations must be filed within
twenty four (24) hours after being served a copy thereof. Any different deadline that may
appear on the electronic docket is for the court’s internal use only, and does not control. A copy
of objections shall be served upon all other parties. Failure to object may limit the scope of
appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).
